                       Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 1 of 11


A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                            District of Massachusetts
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                   MIGUEL ANGEL NOUEL                                     )
                                                                                  Case Number: 10-CR-10440-DPW-011
                                                                          )
                                                                          )       USM Number: 93642-038
                                                                          )
                                                                          )       William Keefe
                                                                                  Defendant's Attorney
THE DEFENDANT:
gpJeaded guilty to count(s)            1 and 10 of the Indictment on 5/17/2012

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 21 U.S.C. § 841(b)(1)(B)



       The defendant is sentenced as provided in pages 2 through           7 _ _ of this judgment. The sentence is imposed pursuant to
                                                                          __
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)        ----------
                                                   Dis            [J are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           3/7/2013




                                                                           Douglas P. Woodlock                          Judge,U.S. District Court
                                                                          Name and Title of Judge
                     Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 2 of 11

AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet IA
                                                                        Judgment-Page ~ of   7
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011

                                          ADDITIONAL COUNTS OF CONVICTION



and 841 (b)( 1)(8)               Distribution of Cocaine.
                        Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 3 of 11

AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                        Judgment -   Page   3    7
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    60 months. This term consists of terms of 60 months on Counts 1 and 10, to be served concurrently.

    Defendant shall receive credit for time served.


      iZf The court makes the following recommendations to the Bureau of Prisons:
    Defendant should be designated to the institution, commensurate with security, which is closest to his relatives.
    Defendant should participate in educational classes to pursue his GED and further educational and/or vocational training.


      iZf The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
          D at                                       [J a.m.     D p.m.       on

          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                           Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 4 of 11
AD 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       4    of        7
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 1O-CR-1 0440-DPW-011
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years. This term consists of terms of 3 years on Counts 1 and 10, to be served concurrently.


        The defendant must report to the probation office in the district to which the defendant is released with in 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from rrnpnsonrnent ana atleast two periodic drug tests
thereafter,~~lh1!lfOQX.

o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.}

o        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.i
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training. or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                    Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 5 of 11


AO 245B   (Rev. 09/11) Judgment in a CriminalCase
          Sheet 3A - SupervisedRelease
                                                                                             Judgment-Page    5    of     7
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011

                                   ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall participate in an educational services program, as directed by the Probation Office. Such program
 may include GED preparation, English as a Second Language classes, and/or other classes designed to improve the
 defendant's proficiency in skills such as reading, writing, mathematics, and computer use. The defendant shall be required
 to contribute to the costs of such programming based on the ability to payor availability of third-party payment.

 The defendant is to participate in a program for substance abuse counseling/awareness as directed by the Probation
 Office. Such programs may include observing CARE sessions an/or attending 12-step recovery meetings. The defendant
 shall be required to contribute to the costs of such programming based on the ability to payor availability of third-party
 payment.

 If ordered deported, the defendant is to leave the United States and is not to return without prior permission of the
 Secretary of the Department of Homeland Security.
                     Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 6 of 11

AO 245B   (Rev. 0911 I) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                     6
                                                                                                  Judgrnent- Page _--=--_ of             1
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011
                                               CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                                            Restitution
TOTALS            $ 200.00                                       $                                    $



o The determination of restitution is deferred unti I                . An Amended Judgment in a Criminal Case (AG 245Cj will be entered
    after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.




TOTALS                              $                     0.00                   0.00
                                                                         $--------­


o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I2(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the 0 fine 0 restitution.
     o the interest requirement for the 0 fine 0 restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA,and 113A ofTitJe 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                      Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 7 of 11

AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                                  7_ of
                                                                                                                Judgment - Page _ _                      7
DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri/ Lump sum payment of $ _20_0_._0_0                   _ due immediately, balance due

                 not later than                                      , or
                 in accordance           o C, o D,              o      E,or     rJ F below; or
B    0    Payment to begin immediately (may be combined with                  0 C,        0 D, or       0 F below); or
C    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri/ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay the special assessment of $200.00, immediately or according to a payment plan
           established by the Court in consultation with the probation officer, if not paid in full before release from prison
           through a Bureau of Prisons financial responsibility program.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                     Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 8 of 11

AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page I) - Statement of Reasons


DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011
DISTRICT:    District of Massachusetts
                                                           STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

                 The court adopts the presentence investigation report without change.

      B 0        The court adopts the presentence investigation report with the following changes.
                 (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                 (Use page 4 ifnecessary.)

                 o Chapter Two ofthe U.S.S.G. Manual determinations by court (including changes to base offense level, or
                      specific offense characteristics):



          2      0    Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                      role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):



          3      0    Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
                      scores, career offender, or criminal livelihood determinations):



          4      0    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                      presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                      or programming decisions):



      C [J       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A 0        No count of conviction carries a mandatory minimum sentence.

      B 0        Mandatory minimum sentence imposed.

      C   ~      One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                 sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                 does not apply based on

                 o findings offact in this case
                 o substantial assistance (18 U.S.c. § 3553(e»
                 ri the statutory safety valve (18 U.S.c. § 3553(f)
III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: --=2-'--7                            _
      Criminal History Category:
      Imprisonment Range:       70_ _ to -'Ql         months
      Supervised Release Range:      2         to 5          years
      Fine Range: $ 12,500            to $ 10.000.000

      'if Fine waived or below the guideline range because of inability to pay.
AD 245B
                           Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 9 of 11
             (Rev. 09/11) Judgment in a Criminal Case
             Attachment (Page 2) - Statement of Reasons


DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011
DISTRICT:    District of Massachusetts
                                                             STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A      0         The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.


      B 0              The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use page 4 if necessary.)


      c 0              The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (A/so comp/ele Section V)

      D      iZf       The court imposed a sentence outside the advisory sentencing guideline system. (A/so complete Sec/ion VI)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES tlfapplicable.t
      A      The sentence imposed departs (Check only one.):
             o below the advisory guideline range
             o  above the advisory guideline range

      B      Departure based on (Check all that apply.):

                            Plea Agreement (Check all that apply and check reason(s) below.):
                            [] 5K 1.1 plea agreement based on the defendant's substantial assistance
                            o    5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                            o    binding plea agreement for departure accepted by the court
                            o plea agreement for departure, which the court finds to be reasonable
                            o plea agreement that states that the government will not oppose a defense departure motion.
             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reasonts) below.):
                            o 5K1.1 government motion based on the defendant's substantial assistance
                            o 5K3.1 government motion based on Early Disposition or "Fast-track" program
                            o government motion for departure
                            o defense motion for departure to which the government did not object
                            o   defense motion for departure to which the government objected

             3              Other
                            o   Other than a plea agreement or motion by the parties for departure (Check reasonts) below):

      C       Reason(s) for Departure (Check all that apply other than 5K/1 or 5K3/i

0    4A1.3       Criminal History Inadequacy                0    5K2.J     Death                                   0     5K2.1 J   Lesser Harm
0    SHU         Age                                        0    5K2.2     Physical Injury                         0     5K2.12    Coercion and Duress
0    5H1.2       Education and Vocational Skills            0    5K2.3     Extreme Psychological Injury            0     5K2.13    Diminished Capacity
0    5H1.3       Mental and Emotional Condition             0    5K2.4     Abduction or Unlawful Restraint         0     5K214     Public Welfare
0    5HI.4       Physical Condition                         0    5K2.5     Property Damage or Loss                 0     5K2.J6    Voluntary Disclosure ofOffense
0    5H1.5       Employment Record                          0    5K2.6     Weapon or Dangerous Weapon              0     5K217     High-Capacity. Semiautomauc Weapon
0    5H1.6       Family Ties and Responsibilities           0    5K2.7     Disruption of Government Function       0     5K218     Violent Street Gang
0    SHU I       Military Record, Charitable Service,       0    5K2.8     Extreme Conduct                         0     5K2.20    Aberrant Behavior
                 Good Works
                                                            0    5K2.9    Criminal Purpose                         0     5K2.21    Dismissed and Uncharged Conduct
0    5K2.0       Aggravating or Mitigating Circumstances    0    5K2.10 Victim's Conduct                           0     5K2.22    Age or Health of Sex Offenders
                                                                                                                   0     5K223     Discharged Terms of Impnsonment
                                                                                                                   0    Other guideline basis (e.g., 281.1 commentary)

      D       Explain the facts justifying the departure. (Use page 4 if necessary.)
                     Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 10 of 11

A0245B     (Rev. 09/11) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   COURT DETERMINAnON FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           r;tbelow the advisory guideline range
           o above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.):
                       Plea Agreement (Check all that apply and check reason(s) below.):
                       o       binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                       o       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                       o       plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                       ill' government motion for a sentence outside of the advisory guideline system
                       o defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       o defense motion for a sentence outside of the advisory guideline system to which the government objected
           3           Other
                       ill' Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reasonts) below.):
     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           'it the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.s.C. § 3553(a)(I)
           'it to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.s.c. § 3553(aX2)(A))
           'it to afford adequate deterrence to criminal conduct (18 u.s.c. § 3553(aX2XB))
           o to protect the public from further crimes of the defendant (18 U.S.c. § 3553(aX2XC))
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
               (18 U.S.c. § 3553(aX2XD))
           o to avoid unwarranted sentencing disparities among defendants (18 U.S.c. § 3553(aX6))
           o to provide restitution to any victims of the offense (18 U.s.c. § 3553(aX7))
     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 ifnecessary.)
                   Case 1:10-cr-10440-DPW Document 618 Filed 03/07/13 Page 11 of 11

AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Attachment (Page 4) - Statement of Reasons


DEFENDANT: MIGUEL ANGEL NOUEL
CASE NUMBER: 10-CR-10440-DPW-011
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A    ~     Restitution Not Applicable.

      B    Total Amount of Restitution:

      C    Restitution not ordered (Check only one.):

                 D    For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A, restitution is not ordered because the number of
                      identifiable victims is so large as to make restitution impracticable under 18 U.S.c. § 3663A(cX3XA).

           2     D    For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A. restitution is not ordered because determining complex
                      issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                      that the need 10 provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.c. § 3663A(cX3XB).

           3     D    For other offenses for which restitution is authorized under 18 U.S.c. § 3663 and/or required by the sentencing guidelines, restitution is not
                      ordered because the complication and prolongation of the sentencing process resulting from the fashioning ofa restitution order outweigh
                      the need to provide restitution 10 any victims under 18 U.S.c. § 3663(a)(IXBXii).

           4     D    Restitution is not ordered for other reasons. (Explain.)




      D    D     Partial restitution is ordered for these reasons (18 U.Sc. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (lfapplicable.)




                   Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:

Defendant's Date of Birth:         1980

Defendant's Residence Address:                                                                      Signature of Judge
 Boston, MA                                                                                         Douglas P. Woodlock                         U.S.D.J.
Defendant's Mailing Address:                                                                        Name and Title fudge                1,       26/1
 Unknown.                                                                                           Date Signed r+~_a"",-,--y-=-(.::-t---,---./-._ _'J                 _
